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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                       Case No.: 1:17−cr−00489
                                                         Honorable Robert M. Dow Jr.
David Sanchez
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, October 15, 2021:


        MINUTE entry before the Honorable Robert M. Dow, Jr as to David Sanchez:
Telephone Conference set for 10/25/2021 at 09:00 a.m. to set a new date for sentencing.
Participants should use the Court's toll−free, call−in number 877−336−1829, passcode is
6963747. Emailed notice (cdh, )




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